         Case 22-60020 Document 23 Filed in TXSB on 04/21/22 Page 1 of 4




                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                VICTORIA DIVISION

IN RE:                                              §         Case No. 22-60020
                                                    §
INFOW, LLC, et al.,                                 §         Chapter 11 (Subchapter V)
                                                    §
        Debtors1                                    §         Jointly Administered

                CONNECTICUT LITIGATION PLAINTIFFS’
          WITNESS AND EXHIBIT LIST FOR EMERGENCY HEARING

 Judge                                      Hon. Christopher M. Lopez
 Hearing Date                               Friday, April 22, 2022
 Hearing Time                               9:00 a.m. (CST)
 Party’s Name                               David Wheeler, et al.
 Attorney’s Name                            Ryan Chapple and Randy Williams
 Attorney’s Phone                           512-477-5000
 Nature of Proceeding                       Debtors’ Emergency Motions [Dkts. 6 and 7]

                              WITNESS AND EXHIBIT LIST

        Connecticut Litigation Plaintiffs hereby submit this Witness and Exhibit List in

connection with the hearing on the Debtors’ Emergency Motion for Order Authorizing

Appointment of Russell F. Nelms and Richard S. Schmidt as Trustees of the 2022

Litigation Settlement Trust and Granting Related Relief [Dkt. 6] (the Litigation Trustee

Motion) and Debtors’ Emergency Application for Interim and Final Orders (A)

Authorizing Employment of W. Marc Schwartz as Chief Restructuring Officer, (B)

Authorizing Employment of Staff of Schwartz Associates, LLC in Discharge of Duties as

Chief Restructuring Officer, and (C) Granting Related Relief [Dkt. 7] (the CRO




1 The  Debtors in these chapter 11 cases along with the last four digits of each Debtor’s federal tax
identification number are as follows: InfoW, LLC f/k/a Infowars, LLC (6916), IWHealth, LLC f/k/a
Infowars Health, LLC (no EIN), Prison Planet TV, LLC (0005). The address for service to the Debtors is
PO Box 1819, Houston, TX 77251-1819.




ALLEN’S WITNESS AND EXHIBIT LIST—PAGE 1
          Case 22-60020 Document 23 Filed in TXSB on 04/21/22 Page 2 of 4




Application and, collectively with the Litigation Trustee Motion, the Debtors’ Emergency

Motions) to be held on Friday, April 22, 2022 at 9:00 a.m. (central standard time):

         Counsel for Connecticut Litigation Plaintiffs reserves the right to supplement,

amend, or delete any witnesses or exhibits prior to the hearing. Counsel for Connecticut

Litigation Plaintiffs reserves the right to supplement the Witness and Exhibit List with

new witnesses and additional exhibits. Further, counsel reserves the right to use any

exhibits presented by any other party and to ask the Court to take judicial notice of any

document. Counsel for Connecticut Litigation Plaintiffs further reserves the right to

introduce exhibits previously admitted.

                                          WITNESS LIST

         •       Marc Schwartz;
         •       Richard S. Schmidt;
         •       Russell M. Nelms;
         •       Any witness listed or called by any other party.

                                          EXHIBIT LIST

  IF YOU SEEK A COPY OF THE EXHIBITS, YOU CAN ACCESS THEM BY
     SUBMITTING A WRITTEN REQUEST TO ARLANA PRENTICE AT
                   APRENTICE@CSTRIAL.COM.

         Counsel for Connecticut Litigation Plaintiffs may offer for admission into evidence

any of the following exhibits at the hearing:

                                                                       Date    Disposition
 No.         Description                                 Offer   Obj   Admit    after trial
    1.       Wheeler Plaintiffs Original Complaint

    2.       Certificate of Formation of Infowars, LLC

    3.       Texas Secretary of State Public
             Information Reports for Infowars, LLC

    4.       Change of Registered Agent of Infowars,
             LLC




ALLEN’S WITNESS AND EXHIBIT LIST—PAGE 2
          Case 22-60020 Document 23 Filed in TXSB on 04/21/22 Page 3 of 4




    5.     Change of Name of Infowars, LLC to
           InfoW, LLC

    6.     Certificate of Formation of Infowars
           Health, LLC

    7.     Texas Secretary of State Public
           Information Reports for Infowars Health,
           LLC

    8.     Change of Registered Agent of Infowars
           Health, LLC

    9.     Change of Name of Infowars Health, LLC
           to IWHealth, LLC

    10.    Certificate of Formation of Prison Planet
           TV, LLC

    11.    Texas Secretary of State Public
           Information Reports for Prison Planet TV,
           LLC

    12.    Change of Registered Agent of Prison
           Planet TV, LLC

           Any exhibits designated by other parties

           Any exhibits necessary for rebuttal


         Respectfully submitted this 21st day of April 2022.


                                                    /s/ Ryan E. Chapple
                                             Ryan E. Chapple
                                             State Bar No. 24036354
                                             Email: rchapple@cstrial.com
                                             CAIN & SKARNULIS PLLC
                                             303 Colorado Street, Suite 2850
                                             Austin, Texas 78701
                                             512-477-5000
                                             512-477-5011—Facsimile

                                             and




ALLEN’S WITNESS AND EXHIBIT LIST—PAGE 3
        Case 22-60020 Document 23 Filed in TXSB on 04/21/22 Page 4 of 4




                                          Randy W. Williams
                                          State Bar No. 21566850
                                          Email: rww@bymanlaw.com
                                          BYMAN & ASSOCIATES PLLC
                                          7924 Broadway, Suite 104
                                          Pearland, Texas 77581
                                          281-884-9262
                                          ATTORNEYS FOR CONNECTICUT
                                          LITIGATION PLAINTIFFS

                            CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Witness and Exhibit
List has been served on counsel for Debtors, Debtors, and all parties receiving or entitled
to notice through CM/ECF on this 21st day of April 2022.


                                                /s/ Ryan E. Chapple
                                          Ryan E. Chapple




ALLEN’S WITNESS AND EXHIBIT LIST—PAGE 4
